Case 1:20-cv-00052-SPW Document 267-25 Filed 09/27/23 Page 1 of 4

From: Jessica Yuhas
To: Brett Jensen
Ce: Katy Gannon; Rob Stepans; Jon Wilson; Michael Sarabia; Matthew Merrill; James Murnion; Ryan Shaffer; Joel
Taylor (itavlor@mmt-law.com; Gerry.Fagan@moultonbellingham.com; Christopher Sweeney;
i i ; Barbara Bessey; Syivia Basnett;
carrie. nance@moultonbellingham.com
Subject: RE: Rule 35 exams
Date: Wednesday, September 20, 2023 10:49:47 AM

Attachments: 2023-09-20 Ltr. to WINY re Rule 35 Exams.pdf _

Mr. Jensen,
Attached please find Ryan’s letter of today’s date. This will follow via U.S. Mail.
Thank you,

Jessica Yuhas
Paralegal

Meyer, Shaffer
& St

epans, PLP

Montana Office:

430 Ryman St.
Missoula, MT 59802
Tel: 406-543-6929
Fax: 406-721-1799

Wyoming Office:

3490 Clubhouse Drive, Suite 104
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From: Brett Jensen <Blensen@brownfirm.com>
Sent: Tuesday, September 19, 2023 4:12 PM
To: Ryan Shaffer <ryan@mss-lawfirm.com>

Ce: Katy Gannon <katy@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>; Jessica Yuhas
<jessica@mss-lawfirm.com>; Jon Wilson <jwilson@brownfirm.com>; Michael Sarabia
<MSarabia@brownfirm.com>
Subject: RE: Rule 35 exams

EXHIBIT

Hi Ryan:
y 25

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As you know, the turnarounds on this are slow on our end because every time you change
something | have to run it by WTNY and Dr. Butz and get their approval. Frankly, the latest MOU sent

to us on August 30° was completely unacceptable. There were many changes that had never been
made in previous drafts that were not previously negotiated. | think this has become a drawn out
exercise in futility. | think to keep thing moving along we just need to get the Rule 35 motion in front
of Judge Watters. If there are concessions to be made about the parameters of the exams, they can
be made in the briefing. If we see an opportunity to get an agreement signed such that the exams
can proceed while the motion is being decided, | am open to that.

| assume you object to the motion, which will be filed along the same parameters of the latest MOA

we sent you on August 16", but please let me know by tomorrow at noon.
Sincerely,

Brett C. Jensen
Brown Law Firm, P.C.

315 North 24"? Street

P.O. Drawer 849

Billings, MT 59103-0849
Telephone: (406) 248-2611
Fax: (406) 248-3128

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From: Ryan Shaffer <ryan@mss-lawfirm.com>

Sent: Tuesday, September 19, 2023 2:40 PM

To: Brett Jensen <Blensen@brownfirm.com>

Ce: Katy Gannon <katy@mss-lawfirm.com>; Rob Stepans <rop@mss-lawfirm.com>; Jessica Yuhas
<jessica@mss-lawfirm com>

Subject: RE: Rule 35 exams

Hey Brett,

Are Defendants still interested in getting this MOA/MOU done and having Dr. Butz examine the
Plaintiffs?
Case 1:20-cv-00052-SPW Document 267-25 Filed 09/27/23 Page 3 of 4

Ryan R. Shaffer

Meyer, Shaffer

& Stepans, pip

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From: Ryan Shaffer

Sent: Wecnesday, August 30, 2023 6:17 PM

To: Brett Jensen <Blensen@brownfirm.com>

Ce: Katy Gannon <katy@mss-lawfirm.com>; Rob Stepans <rob@mss-lawfirm.com>; Jessica Yuhas
<jessica@mss-lawfirm.com>

Subject: Rule 35 exams

Brett,
Please find attached a modified MOU. We can call it an MOA if you are wed to that.

As to Section B, we could simplify it by taking out our respective positions, and just identify the three
disagreements that will either get resolved, or be the subject of later motions.

Before finalizing, we still need to know whether Dr. Butz is proposing the general category of
neuropsych testing.

Ryan R. Shaffer
Case 1:20-cv-00052-SPW Document 267-25 Filed 09/27/23 Page 4 of 4

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